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 6
                                                                  The Honorable Robert S. Lasnik
 7
                             UNITED STATES DISTRICT COURT
 8                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 9
     S.B., M.B., J.M. Jr., and G.M., minors, by           NO. 2:19-cv-00069-RSL
10   Bruce A. Wolf, their guardian ad litem,
                                                          STATE OF WASHINGTON’S
11                      Plaintiffs,                       RESPONSE TO PLAINTIFFS’
                                                          MOTION FOR RELIEF UNDER
12      vs.                                               FRCP 17(c)(2)
13   UNITED STATES OF AMERICA AND
     STATE OF WASHINGTON,
14
                        Defendants.
15

16

17            COMES NOW the State of Washington, by and through the undersigned counsel, Zebular

18   J. Madison, Assistant Attorney General, and herby files the following Response To Plaintiffs’

19   Motion For Relief Under FRCP 17(c)(2).

20                                    I.      INTRODUCTION

21            As the Court is well aware, King County Superior Court vacated the appointment of

22   Bruce A. Wolf as a Limited Guardian Ad Litem (LGAL) for the minor Plaintiffs in this matter

23   based upon lack of jurisdiction and failure to provide appropriate notice to the Muckleshoot

24   Indian Tribe (Tribe). Because the Tribe has had exclusive jurisdiction over the minors in their

25   dependency proceedings since 2013, King County Superior Court directed Mr. Wolf to seek an

26   LGAL appointment through the Tribal Court. This motion pursuant to FRCP 17(c)(2) followed.


       STATE OF WASHINGTON’S RESPONSE                 1                OFFICE OF THE ATTORNEY GENERAL
                                                                            1250 Pacific Avenue, Suite 105
       TO PLAINTIFFS’ MOTION FOR RELIEF                                            P.O. Box 2317
       UNDER FRCP 17(C)(2)                                                       Tacoma, WA 98401
                                                                                   (253) 593-5243
             Case 2:19-cv-00069-RSL Document 28 Filed 10/02/19 Page 2 of 3




 1                                    II.   FACTS AND AUTHORITY
 2           In the current motion before the Court, Plaintiffs include language that appears to make
 3   passing reference to the State’s culpability in this matter. 1 To the extent that Plaintiffs have
 4   made new averments against the State, or to the extent that the Court finds any significance in
 5   Plaintiffs’ comment that records exchanged have “substantiated viable claims against the State,”
 6   those allegations are denied. 2
 7           In regard to the State’s position on the pending motion pursuant to FRCP 17(c)(2), the
 8   State incorporates by reference and adopts the Statement of Facts and Authority submitted by
 9   the United States in this matter. 3
10                                          III.    CONCLUSION
11           The State requests that the Court issue an appropriate order clarifying the status of Plaintiffs’
12   representation pursuant to FRCP 17(c)(2).
13
             DATED this 2nd day of October, 2019.
14
                                                    ROBERT W. FERGUSON
15                                                  Attorney General

16
                                                      s/ Zebular J. Madison
17                                                  ZEBULAR J. MADISON, WSBA No. 37415
                                                    Assistant Attorney General
18                                                  1250 Pacific Avenue, Suite 105
                                                    P.O. Box 2317
19                                                  Tacoma, WA 98401
                                                    Telephone: (253) 593-5243
20                                                  E-mail: Zebular.Madison@atg.wa.gov
                                                    Fax: (253) 593-2449
21                                                  Attorneys for State of Washington

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23

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25           1
               Dkt. No. 24, p. 2-3
             2
               Id.
26           3
               Dkt. No. 26, p. 2-6.


       STATE OF WASHINGTON’S RESPONSE                      2                 OFFICE OF THE ATTORNEY GENERAL
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             Case 2:19-cv-00069-RSL Document 28 Filed 10/02/19 Page 3 of 3




 1                                    DECLARATION OF SERVICE
 2           I declare that on this 2nd day of October, 2019, I caused to be electronically filed the
 3   foregoing document with the Clerk of the Court using the CM/ECF system which will send
 4   notification of such filing on all parties or their counsel of record as follows:
 5
                     Allen M. Resssler, WSBA No. 5330
 6                   Ressler & Tesh, PLLC
                     allen@resslertesh.com
 7                   Attorneys for Plaintiffs
 8                   Tricia Boerger, WSBA No. 38581
                     Assistant United States Attorney
 9
                     Western District of Washington
10                   United States Attorney’s Office
                     tricia.boerger@usdoj.gov
11                   Attorneys for the United States
12
             I declare under penalty of perjury under the laws of the state of Washington that the
13
     foregoing is true and correct.
14
                                                    ROBERT W. FERGUSON
15                                                  Attorney General
16
                                                     s/ Sharon Jaramillo
17                                                  SHARON JARAMILLO, Legal Assistant
18

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       STATE OF WASHINGTON’S RESPONSE                      3                 OFFICE OF THE ATTORNEY GENERAL
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       UNDER FRCP 17(C)(2)                                                             Tacoma, WA 98401
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